                 United States Court of Appeals
                              FIFTH CIRCUIT
                           OFFICE OF THE CLERK
LYLE W. CAYCE                                              TEL. 504-310-7700
CLERK                                                   600 S. MAESTRI PLACE,
                                                                Suite 115
                                                       NEW ORLEANS, LA 70130

                          March 02, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-50149   USA v. State of Texas
                     USDC No. 1:24-CV-8
                     USDC No. 1:23-CV-1537

Enclosed is an order entered in this case.


                                Sincerely,
                                LYLE W. CAYCE, Clerk

                                By: _________________________
                                Christina C. Rachal, Deputy Clerk
                                504-310-7651
Ms. Munera Al-Fuhaid
Mr. Spencer Amdur
Mr. Anand Balakrishnan
Mr. Maxwell A. Baldi
Ms. Jo Anne Bernal
Mr. Brian Boynton
Mr. Philip Devlin
Ms. Heather Lee Dyer
Ms. Tamara Goodlette
Mr. Daniel Hatoum
Ms. Amy Snow Hilton
Ms. Kateland R. Jackson
Mr. Omar C. Jadwat
Ms. Jean Lin
Mr. Joseph N. Mazzara
Mr. Aaron Lloyd Nielson
Mr. Leif Eric Overvold
Ms. Adriana Cecilia Pinon
Mr. Jacob Przada
Mr. Samuel M. Shapiro
Mr. Kyle Tebo
Mr. Daniel Bentele Hahs Tenny
Mr. Ryan Daniel Walters
Mr. Coy Allen Westbrook
Mr. Cody Wofsy
